      Case 4:23-cr-00556 Document 24 Filed on 02/14/24 in TXSD Page 1 of 2
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                         IN THE UNITED ST ATES DISTRICT COURT                            February 14, 2024
                                                                                         Nathan Ochsner, Clerk
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
UNITED STATES OF AMERICA                             §
                                                     §
vs.                                                  §   CRIMINAL ACTION NO. H-23-556
                                                     §
JOSE LUIS REYES-MARTINEZ                             §

                                             ORDER

        Pending before the Court is an unopposed motion (docket no. 23) filed by the Defendant for

continuance of the trial setting. In accordance with 18 U.S.C. § 3161, the basis for the continuance

is the finding that the ends of justice served in granting such continuance outweigh the best interests

of the public and the defendant in a speedy trial.

        The Court finds that, pursuant to 18 U.S.C. § 3161, a failure to grant continuance in this case

would deny counsel for the Defendant the reasonable time necessary for effective preparation taking

into account the exercise of due diligence and would thereby result in a miscarriage of justice for the

Defendant.

        The Defendant recites that there has been inadequate time to sufficiently prepare for trial.

Denial of the reasonable time necessary for effective trial preparation is expressly enunciated in 18

U.S. C. § 3161 as a factor in determining that a continuance in the ends of justice would outweigh

the public's interest in a speedy trial.

        IT IS HEREBY ORDERED that the Defendant's motion for continuance is GRANTED.

A period of excludable delay shall commence from February 14, 2024, pursuant to 18 U.S.C. § 3161,

and end upon the start of trial.
     Case 4:23-cr-00556 Document 24 Filed on 02/14/24 in TXSD Page 2 of 2



Motions shall be filed by: ----'M=a"""'rc=h'--4'-'-,-=2"""'02=-4-'-----

Responses shall be filed by: ---=-A=p=r=il--=-1-"--',2=-0=2'-'4_ _ __

Proposed Voir Dire, Jury Charge, Exhibit Lists, and Witness Lists shall be filed by:

      May 6, 2024

A Pretrial Conference is set for           May 9, 2024             at 11:30 AM.

Jury Trial will be held on                May 13, 2024            at 1:00 PM.

         SIGNED at Houston, Texas, this the 14th day of February, 2024.




                                                                    SIM LAKE
                                                       SENIOR UNITED ST ATES DISTRICT JUDGE




                                                          -2-
